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                                           March 29, 2022

VIA ECF

The Honorable P. Kevin Castel
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, New York 10007

Re: In re Google Digital Advertising, 1:21-md-03010 (PKC); State of Texas, et al. v. Google
LLC, No. 1:21-cv-06841 (PKC)

Dear Judge Castel:

        We write in response to Google’s letter dated March 28, 2022 regarding the Publisher
Plaintiffs’ request to file a brief, ECF 268, and pursuant to the Court’s Individual Practices § 3F,
to request oral argument on Google’s Motion to Dismiss the Plaintiff States’ Third Amended
Complaint. ECF 217. No conferences are currently scheduled before the Court.

        The Plaintiff States take no position on whether the Court should grant the Publisher
Plaintiffs’ request. If that request is granted, however, the Plaintiff States oppose Google’s
requested extension of time and increase in the page limitation for its Reply to the Plaintiff States’
Opposition. As Google’s letter notes, the briefing schedule for Google’s Motion, the Plaintiff
States’ Opposition, and Google’s Reply was set five months ago. See ECF 144. That schedule
provides Google with ample time and pages for its Reply: more than four times the number of days
than are provided by the Local Rules, see Local Rule 6.1(a), and twice the number of pages than
are provided in the Court’s Individual Practices. See Individual Practices § 3D. The Publisher
Plaintiffs’ request, filed just two days after the Plaintiff States’ Opposition, is not a basis for the
significant extension of time or increase in pages that Google has proposed. Indeed, the only party
attempting an end-run around the Court’s page limitations and briefing schedule is Google, as the
Plaintiff States did not file, invite, or approve the Publisher Plaintiffs’ requested brief. The Plaintiff
States take no position on whether, if the request is granted, Google should be permitted to
separately respond to the Publisher Plaintiffs’ brief.

        Additionally, the Plaintiff States request that oral argument be scheduled on Google’s
Motion to Dismiss. Under the Court’s current briefing schedule, Google’s Motion will be fully
briefed on April 21, 2022. Counsel for the Plaintiff States has proposed to counsel for Google that
oral argument be scheduled for May 24, 25, or 26, 2022 and are awaiting word on Google’s
availability during that window. Counsel for the Plaintiff States will work with the Court and
counsel for Google to identify an acceptable date for oral argument.
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Respectfully submitted,

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